              Case 2:95-cr-00202-MHT-CSC Document 1365 Filed 01/24/12 Page 1 of 4
AU 245D      (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1



                                    UNITED STATES DISTRICT COURT
                                                         Middle District of Alabama

          UNITED STATES OF AMERICA                                         Judgment in a Criminal Case
                             V.                                            (For Revocation of Probation or Supervised Release)


             SHANTRELL MANGUM                                              Case No          2:95CR202-MHT-05
                                                                           USMNo.           096 15-002
                                                                                                      Aylia McKee
                                                                                                    Defendant's Attorney
THE DEFENDANT:
X admitted guilt to violation of condition(s)            1 of the violations report        of the term of supervision.
E was found in violation of condition(s)               _____                           after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                                   Violation Ended

                             Defendant committed a federal, state, or local crime - Violated the                       11/26/2011
                             Family Protection Act




       The defendant is sentenced as provided in pages 2 through                4      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
fl The defendant has not violated condition(s)                                 and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 8998                                                 January 23. 2012
                                                                                               Date of Imposition of Judgment
Defendant's Year of Birth:         1973

City and State of Defendant's Residence:                                                              Signature of Judge
                 Montgomery, Alabama
                                                                               MYRON H. THOMPSON, U.S. DISTRICT JUDGE
                                                                                          Name and Title of Judge


                                                                                                                Date
               Case 2:95-cr-00202-MHT-CSC Document 1365 Filed 01/24/12 Page 2 of 4
AU 245D      (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 2— imprisonment

                                                                                                    Judgment - Page   2   of    4
DEFENDANT:                    SHANTRELL MANGUM
CASE NUMBER:                  2:95CR202-MHT-05


                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
total term of:

Time Served.




          The court makes the following recommendations to the Bureau of Prisons:




     E The defendant is remanded to the custody of the United States Marshal.

     O The defendant shall surrender to the United States Marshal for this district:
          Eat ___________________ 0 a.m. 0 p.m. on ______
          0 as notified by the United States Marshal.

     E The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          Ebefore 2p.m. on _______________________
          E as notified by the United States Marshal.
          E as notified by the Probation or Pretrial Services Office.

                                                                        RETURN

I have executed this judgment as follows:




          Defendant delivered on                                                         to

at                                                    with a certified copy of this judgment.




                                                                                                 UNITED STATES MARSHAL


                                                                           By
                                                                                              DEPUTY UNITED STATES MARSHAL
              Case 2:95-cr-00202-MHT-CSC Document 1365 Filed 01/24/12 Page 3 of 4
AO 245D     (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 3 - Supervised Release
                                                                                                   Judgment—Page      3    of         4
DEFENDANT:      SHANTRELL MANGUM
CASE NUMBER: 2:95CR202-MHT-05
                               SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of:

Nine (9) months.


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not Commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter as determined by the court.
E The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
     future substance abuse. (Check, if applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
E The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
    or is a student, as directed by the probation officer. (Check, if applicable.)
E The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION

1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
          officer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
          or other acceptable reasons;
6)        the defendant shall notifi the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refrain from excessive use of alcohol and shaH not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
          convicted of a felony, unless granted permission to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
          confiscation of any contraband observed in plain view of the probation officer;
11)       the defendant shall notifi the probation officer within seventy-two hours of being arrested or questioned by a law
          enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
          without the permission of the court; and
 3)       as directed by the probation officer, the defendant shall notifi third parties of risks that may be occasioned by the
          defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
          notifications and to confirm the defendant's compliance with such notification requirement.
           Case 2:95-cr-00202-MHT-CSC Document 1365 Filed 01/24/12 Page 4 of 4
AU 245D   (Rev. 09/11) Judgment in a Criminal Case for Revocations
          Sheet 3C - Supervised Release
                                                                                Judgment—Page   4   of      4
DEFENDANT:     SHANTRELL MANGUM
CASE NUMBER: 2:95CR202-MHT-05

                                          SPECIAL CONDITIONS OF SUPERVISION


Defendant shall serve one (1) weekend in a jail type facility under contract to the Federal Bureau of Prisons.
The defendant shall Surrender for service of this term no later than 6:00 p.m. on Friday and shall be released
on Sunday at 6:00 p.m. The defendant shall surrender to the designated facility at a time directed by the
probation officer.
Defendant shall complete the EVEN program.
Defendant shall attend and complete a substance abuse treatment program at the Chemical Addictions
Program in Montgomery, Alabama.
Defendant shall not possess or use any alcohol. The defendant shall be subject to remote alcohol monitoring
by the probation officer. This remote alcohol monitoring shall remain in effect for the entire time of the
defendant's supervision. The probation officer is authorized to use all available technology to monitor the
defendant's compliance with the alcohol restriction condition and may change monitoring methods at their
discretion. The defendant shall contribute to the cost of any monitoring in accordance with his ability to pay.
Defendant shall continue to stay at his grandmother's home for six (6) weeks.
